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 Fill in this information to identify your case:

     United States Bankruptcy Court for the:
         District Of New York Eastern
     ______________

     Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7
                                                          
                                                          X
                                                              Chapter 11
                                                             Chapter 12
                                                             Chapter 13                                                Check if this is an
                                                                                                                           amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                       12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                           About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture        William
                                        __________________________________________________        Deborah
                                                                                                  __________________________________________________
       identification (for example,     First name                                                First name
       your driver’s license or         C
                                        __________________________________________________        A
                                                                                                  __________________________________________________
       passport).                       Middle name                                               Middle name

       Bring your picture               Bryggman
                                        __________________________________________________        Bryggman
                                                                                                  __________________________________________________
       identification to your meeting   Last name                                                 Last name
       with the trustee.                ___________________________                               ___________________________
                                        Suffix (Sr., Jr., II, III)                                Suffix (Sr., Jr., II, III)




2.    All other names you               __________________________________________________        __________________________________________________
      have used in the last 8           First name                                                First name
      years
                                        __________________________________________________        __________________________________________________
       Include your married or          Middle name                                               Middle name
       maiden names.                    __________________________________________________        __________________________________________________
                                        Last name                                                 Last name

                                        __________________________________________________        __________________________________________________
                                        First name                                                First name

                                        __________________________________________________        __________________________________________________
                                        Middle name                                               Middle name
                                        __________________________________________________        __________________________________________________
                                        Last name                                                 Last name




3.    Only the last 4 digits of
      your Social Security              xxx    – xx – ____
                                                      3    1
                                                           ____ 1
                                                                ____ 6
                                                                     ____                        xxx    – xx – ____
                                                                                                               0    5
                                                                                                                    ____ 8
                                                                                                                         ____ 3
                                                                                                                              ____
      number or federal                 OR                                                       OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                          9 xx – xx – ____ ____ ____ ____
      (ITIN)

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Debtor 1        William C Bryggman
                _______________________________________________________                             Case number (if known)_____________________________________
                First Name    Middle Name             Last Name




                                            About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                          
                                            X
                                              I have not used any business names or EINs.                
                                                                                                         X
                                                                                                           I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in                _________________________________________________            _________________________________________________
      the last 8 years                      Business name                                                Business name

      Include trade names and
                                            _________________________________________________            _________________________________________________
      doing business as names               Business name                                                Business name


                                            ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                            EIN                                                          EIN

                                            ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                            EIN                                                          EIN




5.    Where you live                                                                                     If Debtor 2 lives at a different address:


                                            1 Oak Leaf Court
                                            _________________________________________________            _________________________________________________
                                            Number     Street                                            Number     Street


                                            _________________________________________________            _________________________________________________


                                            Huntington                      NY       11743
                                            _________________________________________________            _________________________________________________
                                            City                            State   ZIP Code             City                            State   ZIP Code

                                            SUFFOLK
                                            _________________________________________________            _________________________________________________
                                            County                                                       County


                                            If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                            above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                            any notices to you at this mailing address.                  any notices to this mailing address.


                                            _________________________________________________            _________________________________________________
                                            Number     Street                                            Number     Street


                                            _________________________________________________            _________________________________________________
                                            P.O. Box                                                     P.O. Box

                                            _________________________________________________            _________________________________________________
                                            City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                  Check one:                                                   Check one:
      this district to file for
      bankruptcy                             Over the last 180 days before filing this petition,
                                            X
                                                                                                         
                                                                                                         X
                                                                                                           Over the last 180 days before filing this petition,
                                                I have lived in this district longer than in any            I have lived in this district longer than in any
                                                other district.                                             other district.

                                             I have another reason. Explain.                             I have another reason. Explain.
                                                (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)
                                                ________________________________________                    ________________________________________
                                                ________________________________________                    ________________________________________
                                                ________________________________________                    ________________________________________
                                                ________________________________________                    ________________________________________



     Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
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Debtor 1        William C Bryggman
                _______________________________________________________                             Case number (if known)_____________________________________
                First Name    Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                             Chapter 7
                                            
                                            X
                                              Chapter 11
                                             Chapter 12
                                             Chapter 13

8.    How you will pay the fee              
                                            X I will pay the entire fee when I file my petition. Please check with the clerk’s office in your

                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                    
                                            X No

      bankruptcy within the
      last 8 years?                          Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                   MM / DD / YYYY

                                                      District __________________________ When     _______________ Case number ___________________________
                                                                                                   MM / DD / YYYY

                                                      District __________________________ When     _______________ Case number ___________________________
                                                                                                   MM / DD / YYYY



10.   Are any bankruptcy                    
                                            X No

      cases pending or being
      filed by a spouse who is               Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                       District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                        MM / DD / YYYY
      partner, or by an
      affiliate?
                                                      Debtor _________________________________________________ Relationship to you      _____________________

                                                      District __________________________ When     _______________ Case number, if known____________________
                                                                                                   MM / DD / YYYY



11.   Do you rent your                      
                                            X
                                              No.     Go to line 12.
      residence?                             Yes.    Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                          part of this bankruptcy petition.




     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1        William C Bryggman
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 
                                                X
                                                  No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                 No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.
                                                X
                                                         I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    
                                                X No

      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


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Debtor 1        William C Bryggman
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name     Middle Name              Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                 You must check one:
      counseling.
                                              I received a briefing from an approved credit
                                             X
                                                                                                                  I received a briefing from an approved credit
                                                                                                                  X

                                                 counseling agency within the 180 days before I                       counseling agency within the 180 days before I
      The law requires that you                  filed this bankruptcy petition, and I received a                     filed this bankruptcy petition, and I received a
      receive a briefing about credit            certificate of completion.                                           certificate of completion.
      counseling before you file for
                                                 Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                 plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                      I received a briefing from an approved credit
                                                 counseling agency within the 180 days before I                       counseling agency within the 180 days before I
      eligible to file.                          filed this bankruptcy petition, but I do not have a                  filed this bankruptcy petition, but I do not have a
                                                 certificate of completion.                                           certificate of completion.
      If you file anyway, the court
                                                 Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                 you MUST file a copy of the certificate and payment                  you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                 plan, if any.                                                        plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                       I certify that I asked for credit counseling
      again.                                     services from an approved agency, but was                            services from an approved agency, but was
                                                 unable to obtain those services during the 7                         unable to obtain those services during the 7
                                                 days after I made my request, and exigent                            days after I made my request, and exigent
                                                 circumstances merit a 30-day temporary waiver                        circumstances merit a 30-day temporary waiver
                                                 of the requirement.                                                  of the requirement.
                                                 To ask for a 30-day temporary waiver of the                          To ask for a 30-day temporary waiver of the
                                                 requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                                 what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                                 you were unable to obtain it before you filed for                    you were unable to obtain it before you filed for
                                                 bankruptcy, and what exigent circumstances                           bankruptcy, and what exigent circumstances
                                                 required you to file this case.                                      required you to file this case.
                                                 Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                                 dissatisfied with your reasons for not receiving a                   dissatisfied with your reasons for not receiving a
                                                 briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                                 If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                                 still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                                 You must file a certificate from the approved                        You must file a certificate from the approved
                                                 agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                                 developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                                 may be dismissed.                                                    may be dismissed.
                                                 Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                                 only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                                 days.                                                                days.

                                              I am not required to receive a briefing about                      I am not required to receive a briefing about
                                                 credit counseling because of:                                        credit counseling because of:

                                                  Incapacity.       I have a mental illness or a mental               Incapacity.      I have a mental illness or a mental
                                                                     deficiency that makes me                                            deficiency that makes me
                                                                     incapable of realizing or making                                    incapable of realizing or making
                                                                     rational decisions about finances.                                  rational decisions about finances.
                                                  Disability.       My physical disability causes me                  Disability.      My physical disability causes me
                                                                     to be unable to participate in a                                    to be unable to participate in a
                                                                     briefing in person, by phone, or                                    briefing in person, by phone, or
                                                                     through the internet, even after I                                  through the internet, even after I
                                                                     reasonably tried to do so.                                          reasonably tried to do so.
                                                  Active duty.      I am currently on active military                 Active duty.     I am currently on active military
                                                                     duty in a military combat zone.                                     duty in a military combat zone.
                                                 If you believe you are not required to receive a                     If you believe you are not required to receive a
                                                 briefing about credit counseling, you must file a                    briefing about credit counseling, you must file a
                                                 motion for waiver of credit counseling with the court.               motion for waiver of credit counseling with the court.




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Debtor 1       William C Bryggman
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                
                                                X
                                                    Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                           
                                           X
                                             No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                     No
      administrative expenses
      are paid that funds will be                      Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                
                                           X
                                             1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                           
                                           X
                                             $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                               
                                                                                      X
                                                                                        $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                              William Bryggman
                                              ______________________________________________               _____________________________
                                                                                                               Deborah Bryggman
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                                          07/03/2018
                                              Executed on _________________                                                07/03/2018
                                                                                                               Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


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Debtor 1     William C Bryggman
             _______________________________________________________                                Case number (if known)_____________________________________
             First Name    Middle Name             Last Name




                                         I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are            to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                       available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                         the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented               knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                         _________________________________
                                              Sarah M. Keenan                                                Date           _________________
                                                                                                                            07/03/2018
                                            Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                            Sarah M. Keenan
                                            _________________________________________________________________________________________________
                                            Printed name

                                            Sferrazza & Keenan PLLC
                                            _________________________________________________________________________________________________
                                            Firm name

                                            532 Broadhollow Road
                                            _________________________________________________________________________________________________
                                            Number Street

                                            _________________________________________________________________________________________________

                                            Melville
                                            ______________________________________________________ NY
                                                                                                   ____________ 11747
                                                                                                                ______________________________
                                            City                                                   State        ZIP Code




                                                          (631) 753-4400
                                            Contact phone _____________________________________             Email address   sally@skpllc.com
                                                                                                                            ______________________________




                                            12345
                                            ______________________________________________________ NY
                                                                                                   ____________
                                            Bar number                                             State




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
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Fill in this information to identify your case and this filing:


Debtor 1          William            C                    Bryggman
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            Deborah           A                    Bryggman
                    ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        District of New York Eastern
United States Bankruptcy Court for the: ______________________________________

Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    X
         Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 X
                                                                      Single-family home                           the amount of any secured claims on Schedule D:
            1 Oak Leaf Court
      1.1. _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                          750,000.00
                                                                                                                   $________________         750,000.00
                                                                                                                                            $_______________
                                                                     Investment property
              Huntington     NY              11743
             _________________________________________
             City                    State    ZIP Code
                                                                     Timeshare                                    Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                    Tenancy by the Entirety
                                                                                                                   __________________________________________
              Suffolk                                            Debtor 1 only
             _________________________________________
             County                                              Debtor 2 only
                                                                 
                                                                 X Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                       (see instructions)
                                                                 At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
            86 Urban Avenue
      1.2. ________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                           Unknown
                                                                                                                   $________________          Unknown
                                                                                                                                            $_________________
                                                                    Investment property
             Westbury        NY             11590
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                
                                                                X          Auto repair shop with Apartment
                                                                     Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.     Tenancy by the Entirety
                                                                                                                   __________________________________________

                                                                Debtor 1 only
              Nassau
             ________________________________________
             County                                             Debtor 2 only
                                                                
                                                                X Debtor 1 and Debtor 2 only
                                                                                                                    Check if this is community property
                                                                At least one of the debtors and another              (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


   Official Form 106A/B                                          Schedule A/B: Property                                                             page 1
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Debtor 1       William      C                Bryggman
               _______________________________________________________                                 Case number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

           ________________________________________                 Investment property
           City                    State   ZIP Code                 Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                 
                                                                  At least one of the debtors and another
                                                                                                                              (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  750,000.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes




           Make:                      Lexus
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     RX300
                                      ______________
                                                                 Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                      2003
                                                                 
                                                                 X
                                                                   Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                60500                                                                                     entire property?          portion you own?
           Approximate mileage: ____________                     At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see                6,027.00
                                                                                                                          $________________          6,027.00
                                                                                                                                                    $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                       Ford
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                      Explorer
                                      ______________
                                                                 Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                       2000
                                                                 
                                                                 X Debtor 2 only
           Year:                      ____________
                                                                 Debtor 1 and Debtor 2 only
                                                                                                                          Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
                                 119654
           Approximate mileage: ____________                     At least one of the debtors and another
           Other information:
                                                                                                                           1,840.00                   1,840.00
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)




Official Form 106A/B                                              Schedule A/B: Property                                                                   page 2
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Debtor 1           William      C                Bryggman
                   _______________________________________________________                                                       Case number (if known)_____________________________________
                   First Name         Middle Name                Last Name




            Make:                            Dodge
                                             ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           Durango
                                             ______________                   Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                              X
                                                                                Debtor 2 only
            Year:                            2001
                                             ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
                                 167000                                                                                                                  entire property?                 portion you own?
            Approximate mileage: ____________                                 At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                  1,670.00
                                                                                                                                                         $________________                 1,670.00
                                                                                                                                                                                          $________________
                                                                                   instructions)


            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           ______________                   
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   X 
     No
    Yes

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
            Other information:                                                
                                                                               At least one of the debtors and another                                   entire property?                 portion you own?

                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                               Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                
                                                                               At least one of the debtors and another

                                                                                                                                                         $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       9,537.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
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Debtor 1            William      C                Bryggman
                    _______________________________________________________                                                                   Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   X
        Yes. Describe. ........          Household Furnishings                                                                                                                                       2,500.00
                                                                                                                                                                                                    $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   X
      No
    Yes. Describe. .........                                                                                                                                                                       $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   X No

    Yes. Describe. ..........                                                                                                                                                                      $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
                               Clothing
   X    Yes. Describe. ..........                                                                                                                                                                    400.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   X    No
       Yes. Describe. ..........                                                                                                                                                                   $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   X    No
       Yes. Describe. ............                                                                                                                                                                 $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X
        No
       Yes. Give specific
                                                                                                                                                                                                    $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       2,900.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
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Debtor 1             William     C                Bryggman
                    _______________________________________________________                                                                                    Case number (if known)_____________________________________
                    First Name              Middle Name                       Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                          Current value of the
                                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                                     or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition


 X     No
     Yes .....................................................................................................................................................................    Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   X   Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                              Roslyn Savings Bank 3036
                                                                                                  _________________________________________________________                                                            7,814.80
                                                                                                                                                                                                                      $__________________

                                             17.2. Checking account:                              _________________________________________________________                                                           $__________________

                                             17.3. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.4. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                           $__________________

                                             17.6. Other financial account:                       Bank of America Money Market 4079
                                                                                                  _________________________________________________________                                                            4,728.00
                                                                                                                                                                                                                      $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                           $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

    No                                      Name of entity:                                                                                                                         % of ownership:
   
   X Yes. Give specific
                                             Hicksville Auto Body Inc.
                                             _____________________________________________________________________                                                                   100
                                                                                                                                                                                     ___________%                      Unknown
                                                                                                                                                                                                                      $__________________
       information about
       them. ........................        _____________________________________________________________________                                                                   ___________%                     $__________________
                                             _____________________________________________________________________                                                                   ___________%                     $__________________




Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                            page 5
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Debtor 1            William     C                Bryggman
                   _______________________________________________________                                Case number (if known)_____________________________________
                   First Name            Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No

 Yes. Give specific                    Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________               $__________________
                                         ______________________________________________________________________________________
                                                                                                                                              $__________________
                                         ______________________________________________________________________________________
                                                                                                                                              $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   X   No
      Yes. List each
       account separately. . Type of account:                      Institution name:

                                         401(k) or similar plan:   ___________________________________________________________________        $__________________

                                         Pension plan:             ___________________________________________________________________        $__________________

                                         IRA:                      ___________________________________________________________________        $__________________

                                         Retirement account:       ___________________________________________________________________        $__________________

                                         Keogh:                    ___________________________________________________________________        $__________________

                                         Additional account:       ___________________________________________________________________        $__________________

                                         Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X   No
      Yes ...........................                         Institution name or individual:

                                         Electric:             ______________________________________________________________________         $___________________
                                         Gas:                  ______________________________________________________________________         $___________________
                                         Heating oil:          ______________________________________________________________________
                                                                                                                                              $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                              $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                              $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                              $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                              $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                              $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                              $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................   Issuer name and description:
                                          _______________________________________________________________________________________             $__________________
                                         _______________________________________________________________________________________              $__________________
                                         _______________________________________________________________________________________              $__________________


Official Form 106A/B                                                         Schedule A/B: Property                                                       page 6
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Debtor 1           William      C                Bryggman
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name             Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
   
   X   Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   AXA 529 Savings Plan
                                                   ____________________________________________________________________________________                  38,515.85
                                                                                                                                                        $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   X
       No
      Yes. Give specific information                                                                                         Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                $_________________
            and the tax years. ......................
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   X   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                   $________________
                                                                                                                             Maintenance:               $________________
                                                                                                                             Support:                   $________________
                                                                                                                             Divorce settlement:        $________________
                                                                                                                             Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
      No
   
   X   Yes. Give specific information. ............... Court           Ordered Restitution from D.Gaston
                                                                                                                                                         40,000.00
                                                                                                                                                        $______________________



Official Form 106A/B                                                         Schedule A/B: Property                                                               page 7
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Debtor 1            William      C                Bryggman
                    _______________________________________________________                                                                   Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
   
   X    Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ....
                                                                      First America Companion Life Term ____________________________
                                                                      ___________________________________________ Deborah Bryggman                                                                    0.00
                                                                                                                                                                                                     $__________________
                                                                      Mutual of Omaha Term
                                                                      ___________________________________________ Deborah Bryggman
                                                                                                                  ____________________________                                                        0.00
                                                                                                                                                                                                     $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X    No
       Yes. Give specific information. .............
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X
        No
       Yes. Give specific information. ...........
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       91,058.65
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X
        No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X
        No
       Yes. Describe ........                                                                                                                                                                     $_____________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 8
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Debtor 1             William     C                Bryggman
                    _______________________________________________________                                                                   Case number (if known)_____________________________________
                    First Name             Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X
                      No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X
     No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                     $___________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 9
                                Case 8-18-74538-reg                                       Doc 1               Filed 07/05/18                          Entered 07/05/18 21:30:03

 Debtor 1               William     C                Bryggman
                       _______________________________________________________                                                                        Case number (if known)_____________________________________
                       First Name             Middle Name                   Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X     No
                                                                                                                                                                                                                 $________________
          Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                          $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      750,000.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    9,537.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               2,900.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           91,058.65
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    0.00

62. Total personal property. Add lines 56 through 61. ...................                                             103,495.65
                                                                                                                     $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                  103,495.65


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        853,495.65
                                                                                                                                                                                                                $_________________



 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
                          Case 8-18-74538-reg              Doc 1         Filed 07/05/18               Entered 07/05/18 21:30:03


  Fill in this information to identify your case:

 Debtor 1          William              C                   Bryggman
                   __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2             Deborah          A                    Bryggman
                     ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         District of New
                                          __________ DistrictYork   Eastern
 United States Bankruptcy Court for the: _____________________________________________
                                                              of __________

 Case number
  (If known)
                     ___________________________________________                                                                           Check if this is an
                                                                                                                                              amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
     
     X
       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own
                                                          Copy the value from         Check only one box for each exemption.
                                                          Schedule A/B

      Brief                                                                                                                    11 USC § 522(d)(1)
                                                                                                                               ____________________________
      description: _________________________
                   1 Oak Leaf Court
                                                           750,000.00
                                                          $________________            
                                                                                       X   1.00
                                                                                         $ ____________                        ____________________________
      Line from                                                                         100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                any applicable statutory limit      ____________________________
                       1.1

      Brief                                                                                                                    11 USC § 522(d)(2)
                                                                                                                               ____________________________
      description: _________________________
                   Lexus RX300
                                                           6,027.00
                                                          $________________            
                                                                                       X   3,775.00
                                                                                         $ ____________                        ____________________________
      Line from                                                                         100% of fair market value, up to      ____________________________
                    3.1                                                                   any applicable statutory limit       ____________________________
      Schedule A/B: ______

      Brief                                                                                                                    11 USC § 522(d)(5)
                                                                                                                               ____________________________
                   2000 Ford Explorer with 119654
      description: miles.
                                                            1,840.00
                                                          $________________            
                                                                                       X    1,840.00
                                                                                         $ ____________                        ____________________________
                  _________________________
      Line from                                                                         100% of fair market value, up to      ____________________________
      Schedule A/B: ______                                                                any applicable statutory limit       ____________________________
                       3.2

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                       2
                                                                                                                                                   page 1 of __
                     Case 8-18-74538-reg                   Doc 1     Filed 07/05/18          Entered 07/05/18 21:30:03

Debtor 1     William C Bryggman
             _______________________________________________________                         Case number (if known)_____________________________________
             First Name       Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line       Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property         portion you own
                                                       Copy the value from    Check only one box for each exemption
                                                       Schedule A/B

     Brief        2001 Dodge Durango with 167000 1,670.00                                                             11 USC § 522(d)(5)
                                                                                                                      ____________________________
     description: _________________________
                  miles.                        $________________                1,670.00
                                                                              X $ ____________
                                                                                                                      ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                   3.3
     Schedule A/B: ______                                                        any applicable statutory limit      ____________________________

     Brief                                                                                                            11 USC § 522(d)(5)
                                                                                                                      ____________________________
     description: Roslyn Savings 3036
                  _________________________
                                                        7,814.80
                                                       $________________      
                                                                              X   7,814.80
                                                                                $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B:        17.1
                          ______

     Brief                                                                                                            11 USC § 522(d)(3)
                                                                                                                      ____________________________
     description: _________________________
                  Household Furnishings
                                                        2,500.00
                                                       $________________      
                                                                              X   2,500.00
                                                                                $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B: ______
                   6

     Brief        Bank of America Money Market                                                                        11 USC § 522(d)(5)
                                                                                                                      ____________________________
                  4079
     description: _________________________
                                                        4,728.00
                                                       $________________      
                                                                              X   4,728.00
                                                                                $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                   17.6
     Schedule A/B: ______                                                        any applicable statutory limit      ____________________________

     Brief                                                                                                            ____________________________
     description: _________________________
                  AXA 529 Savings Plan
                                                        38,515.85
                                                       $________________         38,515.85
                                                                              X $ ____________
                                                                                                                      ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B:        24
                          ______

     Brief        Court Ordered Restitution from                                                                      11 USC § 522(d)(5)
                                                                                                                      ____________________________
     description: _________________________
                  D.Gaston
                                                        40,000.00
                                                       $________________         10,148.00
                                                                              X $ ____________
                                                                                                                      ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B: ______
                   30

     Brief                                                                                                            ____________________________
     description: _________________________            $________________       $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit      ____________________________

     Brief                                                                                                            ____________________________
     description: _________________________            $________________       $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B:
                          ______

     Brief                                                                                                            ____________________________
     description: _________________________            $________________       $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B: ______

     Brief                                                                                                            ____________________________
     description: _________________________            $________________       $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
     Schedule A/B: ______                                                        any applicable statutory limit      ____________________________

     Brief                                                                                                            ____________________________
     description: _________________________            $________________       $ ____________                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B:
                          ______

     Brief                                                                                                            ____________________________
     description:                                      $________________       $ ____________                        ____________________________
                    _________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                                                                                 any applicable statutory limit       ____________________________
     Schedule A/B: ______


Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                             2 of __
                                                                                                                                        page ___   2
                           Case 8-18-74538-reg                        Doc 1            Filed 07/05/18           Entered 07/05/18 21:30:03


Fill in this information to identify your case:

Debtor 1          William C Bryggman
                  __________________________________________________________________
                    First Name                   Middle Name                      Last Name

Debtor 2            Deborah A Bryggman
                    ________________________________________________________________
(Spouse, if filing) First Name                   Middle Name                      Last Name


                                        District of New York Eastern
United States Bankruptcy Court for the: ______________________________________

Case number         ___________________________________________
(If known)                                                                                                                                                  Check if this is an
                                                                                                                                                               amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      X
             Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                              Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                       Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                   Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                            value of collateral.   claim                 If any

2.1                                                            Describe the property that secures the claim:                    234,338.32
                                                                                                                              $_________________   Unknown
                                                                                                                                                 $________________   0.00
                                                                                                                                                                   $____________
      Apex Mortgage Corp
      ______________________________________
      Creditor’s Name
                                                           86 Urban Ave.
      1 Walnut Grove Dr.
      ______________________________________
      Number            Street

                                                               As of the date you file, the claim is: Check all that apply.
      Suite 300
      ______________________________________
                                                                  Contingent
      Horsham               PA 19044
      ______________________________________                      Unliquidated
      City                           State   ZIP Code             Disputed
   Who owes the debt? Check one.                               Nature of lien. Check all that apply.
          Debtor 1 only                                       
                                                               X
                                                                   An agreement you made (such as mortgage or secured
          Debtor 2 only                                           car loan)
          Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another                Judgment lien from a lawsuit
                                                                  Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                                                          7 ___
                                                               Last 4 digits of account number ___ 3 ___
                                                                                                      9 ___
                                                                                                         6
2.2                                                            Describe the property that secures the claim:                   1,074,970.00 $________________
                                                                                                                              $_________________ 750,000.00 $____________
                                                                                                                                                              0.00
      Midland Mortgage
      ______________________________________
      Creditor’s Name
                                                           1 Oak Leaf Court
      PO Box 26648
      ______________________________________
      Number            Street

                                                               As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                  Contingent
      Oklahoma City         OK 73126
      ______________________________________                      Unliquidated
      City                           State   ZIP Code             Disputed
   Who owes the debt? Check one.                               Nature of lien. Check all that apply.
          Debtor 1 only                                       
                                                               X   An agreement you made (such as mortgage or secured
          Debtor 2 only                                           car loan)
          Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another                Judgment lien from a lawsuit
                                                                  Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
                            8/1/2006
   Date debt was incurred ____________                                                          8 ___
                                                               Last 4 digits of account number ___ 7 ___
                                                                                                      8 ___
                                                                                                         6
      Add the dollar value of your entries in Column A on this page. Write that number here:                                   1,309,308.32
                                                                                                                              $_________________


  Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                                 2
                                                                                                                                                                 page 1 of ___
                           Case 8-18-74538-reg                      Doc 1       Filed 07/05/18                Entered 07/05/18 21:30:03

Debtor 1           William C Bryggman
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name          Last Name




                 Additional Page                                                                                         Column A               Column B              Column C
 Part 1:                                                                                                                 Amount of claim        Value of collateral   Unsecured
                 After listing any entries on this page, number them beginning with 2.3, followed                                               that supports this    portion
                                                                                                                         Do not deduct the
                 by 2.4, and so forth.                                                                                   value of collateral.   claim                 If any
2.3                                                      Describe the property that secures the claim:                    0.00
                                                                                                                         $_________________   0.00
                                                                                                                                            $________________ $____________
       ______________________________________
       Creditor’s Name

       ______________________________________
       Number            Street

       ______________________________________            As of the date you file, the claim is: Check all that apply.
       ______________________________________                Contingent
       City                          State   ZIP Code        Unliquidated
                                                             Disputed
      Who owes the debt? Check one.                      Nature of lien. Check all that apply.
          Debtor 1 only                                     An agreement you made (such as mortgage or secured
          Debtor 2 only                                      car loan)
          Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another           Judgment lien from a lawsuit
                                                             Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt

      Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

2.4                                                      Describe the property that secures the claim:                   $_________________ $________________ $____________
       ______________________________________
       Creditor’s Name

       ______________________________________
       Number            Street

                                                         As of the date you file, the claim is: Check all that apply.
       ______________________________________
                                                             Contingent
       ______________________________________                Unliquidated
       City                          State   ZIP Code
                                                             Disputed
      Who owes the debt? Check one.
                                                         Nature of lien. Check all that apply.
          Debtor 1 only
                                                             An agreement you made (such as mortgage or secured
          Debtor 2 only                                      car loan)
          Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another           Judgment lien from a lawsuit

          Check if this claim relates to a
                                                             Other (including a right to offset) ____________________
           community debt

      Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

2.5                                                      Describe the property that secures the claim:                   $_________________ $________________ $____________
       ______________________________________
       Creditor’s Name

       ______________________________________
       Number            Street

       ______________________________________            As of the date you file, the claim is: Check all that apply.
       ______________________________________                Contingent
       City                          State   ZIP Code        Unliquidated
                                                             Disputed
      Who owes the debt? Check one.                      Nature of lien. Check all that apply.
          Debtor 1 only                                     An agreement you made (such as mortgage or secured
          Debtor 2 only                                      car loan)
          Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another           Judgment lien from a lawsuit
                                                             Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt
      Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

              Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                      0.00
              If this is the last page of your form, add the dollar value totals from all pages.
              Write that number here:
                                                                                                                          1,309,308.32
                                                                                                                         $_________________

  Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page ___   2
                                                                                                                                                                  2 of ___
                            Case 8-18-74538-reg                    Doc 1        Filed 07/05/18               Entered 07/05/18 21:30:03

 Fill in this information to identify your case:

 Debtor 1              William C Bryggman
                      __________________________________________________________________
                       First Name                    Middle Name             Last Name

 Debtor 2               Deborah A Bryggman
                       ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name             Last Name


                                         District of New York Eastern
 United States Bankruptcy Court for the: ______________________________________
                                                                                                                                                      Check if this is an
 Case number           ___________________________________________
  (If known)                                                                                                                                            amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
        
        X
          Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim    Priority     Nonpriority
                                                                                                                                                     amount       amount
2.1
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___              0.00
                                                                                                                                 $_____________  0.00
                                                                                                                                                $___________   0.00
                                                                                                                                                             $____________
         Priority Creditor’s Name

         ____________________________________________                 When was the debt incurred?          ____________
         Number             Street
         ____________________________________________
                                                                      As of the date you file, the claim is: Check all that apply.
         ____________________________________________
         City                                State      ZIP Code
                                                                         Contingent
                                                                         Unliquidated
         Who incurred the debt? Check one.
                                                                         Disputed
               Debtor 1 only
               Debtor 2 only                                         Type of PRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only
                                                                         Domestic support obligations
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
               Check if this claim is for a community debt              Claims for death or personal injury while you were
         Is the claim subject to offset?                                  intoxicated
         
         X
                No                                                       Other. Specify _________________________________
               Yes
2.2
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
         Priority Creditor’s Name
                                                                      When was the debt incurred?          ____________
         ____________________________________________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.

         ____________________________________________
                                                                         Contingent
         City                                State      ZIP Code         Unliquidated
         Who incurred the debt? Check one.                               Disputed
               Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
               Debtor 2 only
                                                                         Domestic support obligations
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
                                                                         Claims for death or personal injury while you were
               Check if this claim is for a community debt               intoxicated
         Is the claim subject to offset?                                 Other. Specify _________________________________
               No
               Yes


Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     5
                                                                                                                                                          page 1 of ___
                            Case 8-18-74538-reg                       Doc 1       Filed 07/05/18           Entered 07/05/18 21:30:03
Debtor 1             William C Bryggman
                     _______________________________________________________                               Case number (if known)_____________________________________
                     First Name      Middle Name          Last Name


  Part 2:           List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X
        Yes

  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.1
       American Express
       _____________________________________________________________                                                    5 ___
                                                                                       Last 4 digits of account number ___ 7 ___
                                                                                                                              1 ___
                                                                                                                                 3
       Nonpriority Creditor’s Name                                                                                                                              2,129.00
                                                                                                                                                               $__________________
                                                                                       When was the debt incurred?           8/1/1997
                                                                                                                             ____________
       P.O. BOX 981537
       _____________________________________________________________
       Number               Street

       El Paso                  TX               79998
       _____________________________________________________________
       City                                              State         ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                          Contingent
       Who incurred the debt? Check one.                                                  Unliquidated
              Debtor 1 only                                                              Disputed
              Debtor 2 only
          X
               Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                                    Student loans

              Check if this claim is for a community debt                                Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
       Is the claim subject to offset?                                                    Debts to pension or profit-sharing plans, and other similar debts
       
       X
               No                                                                      
                                                                                       X                  Credit Card Charges
                                                                                           Other. Specify ______________________________________
              Yes

4.2
       Bank of America                                                                                                  9 ___
                                                                                       Last 4 digits of account number ___ 8 ___
                                                                                                                              8 ___
                                                                                                                                 0                               6,621.00
                                                                                                                                                               $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                     When was the debt incurred?           12/1/2007
                                                                                                                             ____________
       4060 OGLETOWN/STANTON RD DE5-019-03-07
       _____________________________________________________________
       Number               Street
                                                                                       As of the date you file, the claim is: Check all that apply.
        Newark                DE                  19713
       _____________________________________________________________
       City                                              State         ZIP Code
                                                                                          Contingent
       Who incurred the debt? Check one.                                                  Unliquidated

              Debtor 1 only
                                                                                          Disputed

              Debtor 2 only
                                                                                       Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                                    Student loans
                                                                                          Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt                                 that you did not report as priority claims
       Is the claim subject to offset?                                                    Debts to pension or profit-sharing plans, and other similar debts

          X
               No                                                                      
                                                                                       X                  Credit Card Charges
                                                                                           Other. Specify ______________________________________

              Yes

4.3
       Bank of America - Visa
       _____________________________________________________________                                                    4 ___
                                                                                       Last 4 digits of account number ___ 3 ___
                                                                                                                              2 ___
                                                                                                                                 2                               9,269.00
       Nonpriority Creditor’s Name                                                                                                                             $_________________
                                                                                       When was the debt incurred?           12/1/2000
                                                                                                                             ____________
       4060 OGLETOWN/STANTON RD DE5-019-03-07
       _____________________________________________________________
       Number               Street

       Newark                   DE               19713
       _____________________________________________________________                   As of the date you file, the claim is: Check all that apply.
       City                                              State         ZIP Code

                                                                                          Contingent
       Who incurred the debt? Check one.
                                                                                          Unliquidated
              Debtor 1 only
                                                                                          Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                       Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                                          Student loans
              Check if this claim is for a community debt                                Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
       Is the claim subject to offset?
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
       
       X       No
                                                                                       
                                                                                       X                  Credit Card Charges
                                                                                           Other. Specify ______________________________________
              Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                        page2__ of ___
                                                                                                                                                                               5
                          Case 8-18-74538-reg                         Doc 1      Filed 07/05/18           Entered 07/05/18 21:30:03
Debtor 1           William C Bryggman
                   _______________________________________________________                                Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                         Total claim


4.4                                                                                                                     7 ___
                                                                                       Last 4 digits of account number ___ 2 ___
                                                                                                                              0 ___
                                                                                                                                 2
      Great Lakes Education Loan
      _____________________________________________________________                                                                                              12,176.00
                                                                                                                                                               $____________
      Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
      PO Box 7860
      _____________________________________________________________
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Madison                  WI               53707
      _____________________________________________________________
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
            Debtor 1 only
      X
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                       
                                                                                       X   Student loans
            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     Other. Specify________________________________
      
      X
             No
            Yes



4.5
      TD/Target Card Services                                                                                           7 ___
                                                                                       Last 4 digits of account number ___ 6 ___
                                                                                                                              9 ___
                                                                                                                                 1                               4,868.00
                                                                                                                                                               $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           4/1/1998
                                                                                                                             ____________
      7000 Target Parkway N MAIL STOP NCD-0450
      _____________________________________________________________
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
       Brooklyn Park                   MN        55445
      _____________________________________________________________
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
            Debtor 1 only
            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      X     Debtor 1 and Debtor 2 only
                                                                                          Student loans
            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     Other. Specify________________________________
      
      X      No
            Yes


4.6                                                                                                                                                            $____________
                                                                                       Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                       When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
            Debtor 1 only
            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                          Student loans
            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
            Check if this claim is for a community debt
                                                                                          Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     Other. Specify________________________________
            No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 3__ of ___
                                                                                                                                                                           5
                      Case 8-18-74538-reg                      Doc 1      Filed 07/05/18         Entered 07/05/18 21:30:03
Debtor 1       William C Bryggman
               _______________________________________________________                           Case number (if known)_____________________________________
               First Name    Middle Name           Last Name



Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     Target Card Services
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     PO Box 660170
     _____________________________________________________
                                                                                4.5 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              
                                                                                                        X
                                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
     _____________________________________________________
                                                                                                            7 ___
                                                                           Last 4 digits of account number ___ 6 ___
                                                                                                                  9 ___
                                                                                                                     1
     Dallas, TX 75266-0170
     _____________________________________________________
     City                                  State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                 Claims

     _____________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                               Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                               Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                               Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                               Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                 Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                 Claims

     _____________________________________________________
     City                                  State               ZIP Code
                                                                           Last 4 digits of account number ___ ___ ___ ___


  Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               page4__ of 5
                                                                                                                                                               ___
                      Case 8-18-74538-reg                    Doc 1    Filed 07/05/18         Entered 07/05/18 21:30:03
Debtor 1       William C Bryggman
               _______________________________________________________                      Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.      0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.      0.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.      0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                        0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                        0.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.
Total claims                                                                             12,176.00
                                                                                        $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.       0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.      0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                        18,019.00


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                         30,195.00
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                      page5__ of ___
                                                                                                                                                        5
                            Case 8-18-74538-reg             Doc 1       Filed 07/05/18            Entered 07/05/18 21:30:03



 Fill in this information to identify your case:

 Debtor               William C Bryggman
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              Deborah A Bryggman
                       ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                        District of New York Eastern
 United States Bankruptcy Court for the:______________________________________

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      
      X    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1                                                                                       Month to month Section 8 Tenant
      Lafrance Fountain
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                              page 1 of ___
                           Case 8-18-74538-reg                            Doc 1      Filed 07/05/18       Entered 07/05/18 21:30:03


 Fill in this information to identify your case:

 Debtor 1          William C Bryggman
                   __________________________________________________________________
                      First Name                    Middle Name                   Last Name

 Debtor 2             Deborah A Bryggman
                      ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                   Last Name


                                        District of New York Eastern
 United States Bankruptcy Court for the:_______________________________________

 Case number          ____________________________________________
  (If known)
                                                                                                                                                Check if this is an
                                                                                                                                                  amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                  12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      X    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X
           No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                             State                       ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                               Column 2: The creditor to whom you owe the debt

                                                                                                             Check all schedules that apply:
3.1
         ________________________________________________________________________________                     Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                             Schedule E/F, line ______
         Number             Street                                                                            Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                     ZIP Code

3.2
         ________________________________________________________________________________                     Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                             Schedule E/F, line ______
         Number             Street                                                                            Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                     ZIP Code

3.3
         ________________________________________________________________________________                     Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                             Schedule E/F, line ______
         Number             Street                                                                            Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                     ZIP Code

Official Form 106H                                                           Schedule H: Your Codebtors                                                        1
                                                                                                                                                    page 1 of ___
                          Case 8-18-74538-reg             Doc 1       Filed 07/05/18           Entered 07/05/18 21:30:03


 Fill in this information to identify your case:


 Debtor 1            William C Bryggman
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2             Deborah A Bryggman
                     ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                          District of New York Eastern
 United States Bankruptcy Court for the: ___________________________________________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                     X   Employed
     employers.                                                         Not employed                                 FillNot
                                                                                                                            outemployed
                                                                                                                               this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  Owner Autobody Shop
                                                                      __________________________________          Retail Merchandiser
                                                                                                                  __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            Hicksville Auto Body Inc.
                                                                     __________________________________           Retail Merchandiser Services
                                                                                                                  __________________________________


                                          Employer’s address         86 Urban Ave.
                                                                   ________________________________________      7550 Meridian Circle N, Ste 1
                                                                                                                ________________________________________
                                                                      Number Street                              Number    Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                     Westbury, NY 11590
                                                                   ________________________________________      Maple Grove, MN 55369
                                                                                                                ________________________________________
                                                                     City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?         _______                                 _______
                                                                                                                   2-1/2 years


  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.      8,666.67                 625.08
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                 0.00             +      0.00
                                                                                                                       $____________


  4. Calculate gross income. Add line 2 + line 3.                                       4.     8,666.67
                                                                                              $__________                625.08
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                             page 1
                         Case 8-18-74538-reg                              Doc 1            Filed 07/05/18                   Entered 07/05/18 21:30:03

Debtor 1          William C Bryggman
                  _______________________________________________________                                                   Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.       8,666.67
                                                                                                                            $___________              625.08
                                                                                                                                                    $_____________

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5d. Required repayments of retirement fund loans                                                             5d.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5e. Insurance                                                                                                5e.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5f. Domestic support obligations                                                                             5f.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

      5g. Union dues                                                                                               5g.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                              0.00              +    0.00
                                                                                                                                                    $_____________

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.       8,666.67
                                                                                                                           $____________              625.08
                                                                                                                                                    $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                                8,850.00                 0.00
                                                                                                                           $____________            $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                            0.00                     0.00
                                                                                                                           $____________            $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8e. Social Security                                                                                          8e.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                             0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
                                         Rental 86 Urban Ave.
      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________
                                                                                                                             1,154.45            + $_____________
                                                                                                                                                    1,154.45

  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.       10,004.45
                                                                                                                           $____________              1,154.45
                                                                                                                                                    $_____________

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.
                                                                                                                             18,671.12
                                                                                                                           $___________     +         1,779.53
                                                                                                                                                    $_____________       =     20,450.65
                                                                                                                                                                             $_____________

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify: _______________________________________________________________________________                                                                      11. + $_____________
                                                                                                                                                                          0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.         20,450.65
                                                                                                                                                                             $_____________
                                                                                                                                                                             Combined
                                                                                                                                                                             monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
           No.
           Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                    page 2
                          Case 8-18-74538-reg               Doc 1        Filed 07/05/18            Entered 07/05/18 21:30:03



 Fill in this information to identify your case:

 Debtor 1          William C Bryggman
                   __________________________________________________________________
                     First Name              Middle Name              Last Name                       Check if this is:
 Debtor 2            Deborah A Bryggman
                     ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                         District of New York Eastern
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

        No. Go to line 2.
   
   X     Yes. Does Debtor 2 live in a separate household?

                 
                 X   No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      No                                 Dependent’s relationship to                 Dependent’s   Does dependent live
    Do not list Debtor 1 and                
                                            X    Yes. Fill out this information for Debtor 1 or Debtor 2                        age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’                                                    Daughter                                    18
                                                                                                                                                  No
                                                                                    _________________________                   ________
    names.                                                                                                                                    
                                                                                                                                              X
                                                                                                                                                   Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                   7,000.00
                                                                                                                                  $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.      0.00
                                                                                                                                  $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.      0.00
                                                                                                                                  $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.      125.00
                                                                                                                                  $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.      0.00
                                                                                                                                  $_____________________

 Official Form 106J                                           Schedule J: Your Expenses                                                             page 1
                        Case 8-18-74538-reg                   Doc 1    Filed 07/05/18      Entered 07/05/18 21:30:03


Debtor 1          William C Bryggman
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                       Your expenses

                                                                                                                        0.00
                                                                                                                      $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                 5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                     6a.      350.00
                                                                                                                      $_____________________
      6b.   Water, sewer, garbage collection                                                                   6b.      30.00
                                                                                                                      $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.      300.00
                                                                                                                      $_____________________
      6d.                   Cell Phones
            Other. Specify: _______________________________________________                                    6d.      300.00
                                                                                                                      $_____________________

 7. Food and housekeeping supplies                                                                             7.       810.00
                                                                                                                      $_____________________

 8. Childcare and children’s education costs                                                                   8.       0.00
                                                                                                                      $_____________________
 9. Clothing, laundry, and dry cleaning                                                                        9.       100.00
                                                                                                                      $_____________________
10.   Personal care products and services                                                                      10.      75.00
                                                                                                                      $_____________________
11.   Medical and dental expenses                                                                              11.      120.00
                                                                                                                      $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        200.00
                                                                                                                      $_____________________
      Do not include car payments.                                                                             12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.      150.00
                                                                                                                      $_____________________
14.   Charitable contributions and religious donations                                                         14.      50.00
                                                                                                                      $_____________________
                                                                                                                                                    16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                      15a.     259.00
                                                                                                                      $_____________________
      15b. Health insurance                                                                                    15b.     2,000.00
                                                                                                                      $_____________________
      15c. Vehicle insurance                                                                                   15c.     257.00
                                                                                                                      $_____________________
      15d. Other insurance. Specify:_______________________________________                                    15d.     0.00
                                                                                                                      $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                        0.00
                                                                                                                      $_____________________
      Specify: ________________________________________________________                                        16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                          17a.     0.00
                                                                                                                      $_____________________

      17b. Car payments for Vehicle 2                                                                          17b.     0.00
                                                                                                                      $_____________________

                           Student Loan
      17c. Other. Specify:_______________________________________________                                      17c.    199.00
                                                                                                                      $_____________________

      17d. Other. Specify:_______________________________________________                                      17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.     0.00
                                                                                                                      $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                           19.    0.00
                                                                                                                      $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                         20a.    5,531.15
                                                                                                                      $_____________________

      20b. Real estate taxes                                                                                   20b.    0.00
                                                                                                                      $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                        20c.    0.00
                                                                                                                      $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                            20d.    0.00
                                                                                                                      $_____________________

      20e. Homeowner’s association or condominium dues                                                         20e.    0.00
                                                                                                                      $_____________________



  Official Form 106J                                           Schedule J: Your Expenses                                                   page 2
                        Case 8-18-74538-reg                  Doc 1    Filed 07/05/18          Entered 07/05/18 21:30:03


Debtor 1         William C Bryggman
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




21.    Other. Specify: _________________________________________________                                          21.   +$_____________________
                                                                                                                           0.00


22.    Calculate your monthly expenses.                                                                                   17,856.15
                                                                                                                         $_____________________
       22a. Add lines 4 through 21.
                                                                                                                         $_____________________
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               17,856.15
                                                                                                                         $_____________________
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.




23. Calculate your monthly net income.
                                                                                                                           20,450.65
                                                                                                                          $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           17,856.15

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                            2,594.50
                                                                                                                          $_____________________
             The result is your monthly net income.                                                              23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
         Yes.      Explain here:




  Official Form 106J                                          Schedule J: Your Expenses                                                       page 3
                          Case 8-18-74538-reg                          Doc 1            Filed 07/05/18                   Entered 07/05/18 21:30:03



 Fill in this information to identify your case:

 Debtor 1          William                 C                     Bryggman
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2          Deborah               A                      Bryggman
                   ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


                                         District of New York Eastern
 United States Bankruptcy Court for the: ______________________________________

 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................
                                                                                                                                                                            750,000.00
                                                                                                                                                                          $ ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................              103,495.65
                                                                                                                                                                          $ ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                            853,495.65
                                                                                                                                                                          $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                            1,309,308.32
                                                                                                                                                                          $ ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                            0.00
                                                                                                                                                                          $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      +     35,063.00
                                                                                                                                                                          $ ________________


                                                                                                                                     Your total liabilities                 1,344,371.32
                                                                                                                                                                          $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................
                                                                                                                                                                            20,450.65
                                                                                                                                                                          $ ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                      17,856.15
                                                                                                                                                                          $ ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                        Case 8-18-74538-reg                    Doc 1     Filed 07/05/18            Entered 07/05/18 21:30:03


Debtor 1    William                C                     Bryggman
                _______________________________________________________                            Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X
      Yes


7. What kind of debt do you have?

    
    X
      Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                 20,110.07
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            0.00
                                                                                                           $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            0.00
                                                                                                           $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            0.00
                                                                                                           $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            12,176.00
                                                                                                           $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    0.00
                                                                                                           $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                 0.00
                                                                                                        + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                      12,176.00
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
                             Case 8-18-74538-reg                 Doc 1         Filed 07/05/18                Entered 07/05/18 21:30:03


Fill in this information to identify your case:

Debtor 1          William C Bryggman
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            Deborah A Bryggman
                    ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


                                                District Of New York Eastern
United States Bankruptcy Court for the: _______________________________________

Case number         ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X
         No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




         William Bryggman
          ______________________________________________             
                                                                      _____________________________
                                                                            Deborah Bryggman
         Signature of Debtor 1                                             Signature of Debtor 2


              07/03/2018
         Date _________________                                                 07/03/2018
                                                                           Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules                                         page 1
Case 8-18-74538-reg   Doc 1   Filed 07/05/18   Entered 07/05/18 21:30:03
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                            Case 8-18-74538-reg                         Doc 1          Filed 07/05/18           Entered 07/05/18 21:30:03


Debtor 1             William      C                Bryggman
                    _______________________________________________________                                     Case number (if known)_____________________________________
                    First Name          Middle Name         Last Name


                                                                                                                                             Unsecured claim

18                                                                 What is the nature of the claim? ____________________________
                                                                                                                                             $____________________________
      __________________________________________
      Creditor’s Name
                                                                   As of the date you file, the claim is: Check all that apply.
      __________________________________________                       Contingent
                                                                   
      Number            Street
                                                                        Unliquidated
      __________________________________________                       Disputed
                                                                       None of the above apply
      __________________________________________
      City                                  State     ZIP Code     Does the creditor have a lien on your property?
                                                                       No
      __________________________________________                       Yes. Total claim (secured and unsecured):   $_____________________
      Contact
                                                                             Value of security:                 -   $_____________________
      ____________________________________
      Contact phone
                                                                             Unsecured claim                        $_____________________



                                                                   What is the nature of the claim? ____________________________
19
      __________________________________________                                                                                             $____________________________
      Creditor’s Name
                                                                   As of the date you file, the claim is: Check all that apply.
      __________________________________________
      Number            Street                                         Contingent
                                                                       Unliquidated
      __________________________________________
                                                                       Disputed

      __________________________________________
                                                                       None of the above apply
      City                                  State     ZIP Code
                                                                   Does the creditor have a lien on your property?

      __________________________________________
                                                                       No
      Contact                                                          Yes. Total claim (secured and unsecured):   $_____________________

      ____________________________________
                                                                             Value of security:                 -   $_____________________
      Contact phone                                                          Unsecured claim                        $_____________________



                                                                   What is the nature of the claim? ____________________________
20
                                                                                                                                             $____________________________

                                                                   As of the date you file, the claim is: Check all that apply.

      __________________________________________
                                                                       Contingent
      Creditor’s Name                                                  Unliquidated

      __________________________________________
                                                                       Disputed
      Number            Street                                         None of the above apply
      __________________________________________
                                                                   Does the creditor have a lien on your property?
      __________________________________________                       No
      City                                  State     ZIP Code
                                                                       Yes. Total claim (secured and unsecured):   $_____________________

      __________________________________________
                                                                             Value of security:                 -   $_____________________
      Contact                                                                Unsecured claim                        $_____________________

      ____________________________________
      Contact phone




Part 2:         Sign Below




     Under penalty of perjury, I declare that the information provided in this form is true and correct.



 William Bryggman
      ______________________________________________                       Deborah Bryggman
                                                                               ______________________________________________
      Signature of Debtor 1                                                   Signature of Debtor 2

           07/03/2018
      Date _________________                                                         07/03/2018
                                                                                Date _________________
             MM /   DD     /     YYYY                                                  MM /   DD /   YYYY



Official Form 104                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 5
                          Case 8-18-74538-reg              Doc 1          Filed 07/05/18           Entered 07/05/18 21:30:03



 Fill in this information to identify your case:

 Debtor 1           William                 C                     Bryggman
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2             Deborah                A                     Bryggman
                     ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


                                          District of New York Eastern
 United States Bankruptcy Court for the: ____________________________________________

 Case number         ___________________________________________
  (If known)                                                                                                                           Check if this is an
                                                                                                                                         amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?


      
      X Married


       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     X
           No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1      Debtor 2:                                              Dates Debtor 2
                                                                lived there                                                                lived there

                                                                                     Same as Debtor 1                                       Same as Debtor 1


               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State ZIP Code


                                                                                     Same as Debtor 1                                       Same as Debtor 1


               __________________________________________       From     ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    ________
               __________________________________________                               ___________________________________________

               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     X     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
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Debtor 1        William C Bryggman
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

    X    Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               X
                    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________
                      Creditor’s Name
                                                                      _________     $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      ____________________________________            _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________            _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                       Other ____________


                      ____________________________________            _________     $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                      _________                                                          Credit card
                                                                                                                                         Loan repayment
                      ____________________________________            _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________            _________     $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                      _________                                                          Credit card
                                                                                                                                         Loan repayment
                      ____________________________________            _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



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Debtor 1           William C Bryggman
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     X
           No
          Yes. List all payments to an insider.
                                                                          Dates of    Total amount      Amount you still   Reason for this payment
                                                                          payment     paid              owe


            ____________________________________________                _________    $____________ $____________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________                             $____________ $____________
                                                                        _________
            Insider’s Name

            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     X
           No
          Yes. List all payments that benefited an insider.
                                                                         Dates of      Total amount     Amount you still   Reason for this payment
                                                                         payment       paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________                _________    $____________ $____________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________                             $____________ $____________
                                                                        _________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code




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Debtor 1        William C Bryggman
                _______________________________________________________                                        Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     X
           Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                 Status of the case

                                                                  Foreclosure
                                                                                                        Supreme Court Suffolk County
                      US Bank as Trustee v
            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                        
                                                                                                                                                        X
                                                                                                                                                            Pending

            Bryggman                                                                                                                                       On appeal
            ____________________________________                                                        1 Court St
                                                                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

                        606815/2016
            Case number ________________________                                                        Riverhead          NY     11901
                                                                                                        ________________________________________
                                                                                                        City                   State   ZIP Code




            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                           Pending

                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     X
           No. Go to line 11.
          Yes. Fill in the information below.

                                                                              Describe the property                                     Date          Value of the property



                 _________________________________________                                                                              __________     $______________
                 Creditor’s Name


                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                                  Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________      $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________                        Property was garnished.
                 City                               State   ZIP Code
                                                                                  Property was attached, seized, or levied.



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Debtor 1          William C Bryggman
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     X
           No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     X
           No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     X     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave        Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________
           Number Street

           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________
           Number Street


           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


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Debtor 1           William C Bryggman
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     X
           No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________           $_____________
           Charity’s Name


           _____________________________________                                                                                        _________           $_____________
           Number Street


           _____________________________________



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     
     X
           No
          Yes. Fill in the details.

            Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
            the loss occurred                                                                                                                               lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                        _________           $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     X
           Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or     Amount of payment
            Sferrazza & Keenan PLLC                                                                                                     transfer was made
            ___________________________________
            Person Who Was Paid

            532 Broadhollow Road, Ste 111
            ___________________________________
            Number       Street                                                                                                         07/02/18
                                                                                                                                        _________            12,500.00
                                                                                                                                                            $_____________

            ___________________________________
                                                                                                                                        _________           $_____________
            Melville            NY     11747
            ___________________________________
            City                       State    ZIP Code


            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



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Debtor 1           William C Bryggman
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                     transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     X
           No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

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Debtor 1           William C Bryggman
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     X
           No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     X
           No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     X
           No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________                                                      
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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Debtor 1              William C Bryggman
                      _______________________________________________________                                              Case number (if known)_____________________________________
                      First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    X
             No
            Yes. Fill in the details.
                                                                       Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                            have it?


               ___________________________________                     _______________________________________                                                                No
               Name of Storage Facility                                Name                                                                                                   Yes
               ___________________________________                     _______________________________________                                                               
               Number       Street                                     Number    Street

               ___________________________________                     _______________________________________
                                                                       City State ZIP Code
               ___________________________________
               City                        State     ZIP Code



 Part 9:                Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
        X
             No
            Yes. Fill in the details.
                                                                      Where is the property?                                    Describe the property                    Value


               ___________________________________
               Owner’s Name                                                                                                                                              $__________
                                                                     _________________________________________
               ___________________________________                   Number     Street
               Number        Street
                                                                     _________________________________________
               ___________________________________
                                                                     _________________________________________
               ___________________________________                   City                             State     ZIP Code
               City                        State     ZIP Code


 Part 10:               Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


        X
             No
            Yes. Fill in the details.
                                                                       Governmental unit                            Environmental law, if you know it                   Date of notice



              ____________________________________                    _______________________________                                                                    _________
              Name of site                                            Governmental unit

              ____________________________________                    _______________________________
              Number       Street                                     Number    Street

                                                                      _______________________________
              ____________________________________                    City                   State   ZIP Code


              ____________________________________
              City                        State     ZIP Code



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                      _______________________________________________________                                              Case number (if known)_____________________________________
                      First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     X
           No
          Yes. Fill in the details.
                                                                      Governmental unit                               Environmental law, if you know it                    Date of notice


            ____________________________________                     _______________________________
            Name of site                                             Governmental unit
                                                                                                                                                                            _________

            ____________________________________                     _______________________________
            Number           Street                                  Number     Street


            ____________________________________                     _______________________________
                                                                     City                  State    ZIP Code
            ____________________________________
            City                           State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     X
           No
          Yes. Fill in the details.
                                                                                                                                                                            Status of the
                                                                       Court or agency                                     Nature of the case
                                                                                                                                                                            case

           Case title______________________________
                                                                       ________________________________
                                                                       Court Name
                                                                                                                                                                             Pending
           ______________________________________
                                                                                                                                                                             On appeal
                                                                       ________________________________
                                                                       Number     Street                                                                                    Concluded

           ______________________________________
           Case number                                                 ________________________________
                                                                       City                        State   ZIP Code
                                                                                                                                                                            

 Part 11:               Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
           
           X
                 An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
     X
           Yes. Check all that apply above and fill in the details below for each business.
                                                                       Describe the nature of the business                                Employer Identification number
               Hicksville Auto Body Inc.
               ____________________________________                                                                                       Do not include Social Security number or ITIN.
               Business Name
                                                                      Auto Body Shop
               86 Urban Ave.
               ____________________________________
                                                                                                                                          EIN: ___ 1 – ___
                                                                                                                                                1 ___   2 ___
                                                                                                                                                           7 ___
                                                                                                                                                              2 ___
                                                                                                                                                                 4 ___
                                                                                                                                                                    2 ___
                                                                                                                                                                       9 ___
                                                                                                                                                                          6
               Number        Street
                                                                       Name of accountant or bookkeeper                                   Dates business existed
               ____________________________________                   Paul Henke CPA
                                                                                                                                          From                   N/A
                                                                                                                                                   _______ To _______
               Westbury            NY      11590
               ____________________________________
               City                        State    ZIP Code

                                                                       Describe the nature of the business                                Employer Identification number
               ____________________________________                                                                                       Do not include Social Security number or ITIN.
               Business Name


               ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
               Number        Street
                                                                       Name of accountant or bookkeeper                                   Dates business existed
               ____________________________________

                                                                                                                                          From     _______ To _______
               ____________________________________
               City                        State    ZIP Code


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                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                                                                             Employer Identification number
                                                                    Describe the nature of the business
                                                                                                                             Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                    Name of accountant or bookkeeper                         Dates business existed

            ____________________________________

            ____________________________________                                                                             From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     X
           No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




            William Bryggman
            ______________________________________________                        _____________________________
                                                                                      Deborah Bryggman
            Signature of Debtor 1                                                     Signature of Debtor 2


                  3 July 2018
            Date ________________                                                           3 July 2018
                                                                                      Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

            No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      X     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




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B2030 (Form 2030) (12/15)




                                       United States Bankruptcy Court
                                                   DISTRICT OF NEW YORK EASTERN



In re
          William C Bryggman and Deborah A Bryggman
                                                                                                Case No. ___________________

Debtor                                                                                                  11
                                                                                                Chapter ____________________

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                              12,500.00
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                            12,500.00
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                               0.00
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2.   The source of the compensation paid to me was:

                Debtor                          X Other (specify) Hicksville Auto Body Inc.

3.   The source of compensation to be paid to me is:

                Debtor                               Other (specify)

4.         X I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
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B2030 (Form 2030) (12/15)

     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e.   [Other provisions as needed]




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                      CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           me for representation of the debtor(s) in this bankruptcy proceeding.

           July 3, 2018
           ______________________               Sarah M. Keenan
           Date                                     Signature of Attorney

                                                Sferrazza & Keenan PLLC
                                                    Name of law firm
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                                 UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW YORK EASTERN


In re                                                                     Chapter 11

        William C Bryggman and Deborah A                                  Case No.
        Bryggman

                                Debtors.



                                STATEMENT OF MONTHLY NET INCOME
The undersigned certifies the following is the debtor's monthly income.


Income:                                     Debtor                                          Joint Debtor

    Six months ago                          $   2,000.00                                    $   288.50

    Five months ago                         $   2,000.00                                    $   288.50

    Four months ago                         $   2,000.00                                    $   288.50

    Three months ago                        $   2,000.00                                    $   288.50

    Two months ago                          $   2,000.00                                    $   288.50

    Last month                              $   2,000.00                                    $   288.50

    Income from other sources               $   14,400.00                                   $   0.00

    Total Net income for six
    months preceding filing                 $   26,400.00                                   $   1,731.00

    Average Monthly Net Income              $   4,400.00                                    $   288.50




Dated:     July 3, 2018
                                                                                 William Bryggman
                                                                                William C Bryggman
                                                                                       Debtor



                                                                                Deborah Bryggman
                                                                               Deborah A Bryggman
                                                                                   Joint Debtor
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW YORK EASTERN
________________________________________________________________________________________________________
In Re:                                                                   Case No.
         William C Bryggman and Deborah A
         Bryggman

                   Debtor(s)
________________________________________________________________________________________________________

                                          DECLARATION RE: ELECTRONIC FILING OF
                                           PETITION, SCHEDULES & STATEMENTS

PART I - DECLARATION OF PETITIONER

                  See Attachment 1
          I (WE) _________________________________,             the undersigned debtor(s), hereby declare under penalty of perjury that
the information provided in the electronically filed petition, statements, and schedules is true and correct and that I signed these
documents prior to electronic filing. I consent to my attorney sending my petition, statements and schedules to the United States
Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to be executed at the First Meeting of Creditors
and filed with the Trustee. I understand that failure to file the signed and dated original of this DECLARATION may cause my case to be
dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice. I (we) further declare under penalty of perjury that I (we) signed the
original Statement of Social Security Number (s), (Official Form B21), prior to the electronic filing of the petition and have verified the 9-
digit social security number displayed on the Notice of Meeting of Creditors to be accurate.

  X If petitioner is an individual whose debts are primarily consumer debts and who has chosen to file under a chapter: I am
aware that I may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, understand the relief available under each
chapter, and choose to proceed under this chapter. I request relief in accordance with the chapter specified in this petition. I (WE)
and, the undersigned debtor(s), hereby declare under penalty of perjury that the information provided in the electronically filed
petition, statements, and schedules is true and correct.

   If petitioner is a corporation or partnership: I declare under a penalty of perjury that the information provided in the
electronically filed petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor
requests relief in accordance with the chapter specified in this petition.

    If petitioner files an application to pay filing fees in installments: I certify that I completed an application to pay the filing fee
in installments. I am aware that if the fee is not paid within 120 days of the filing date of filing the petition, the bankruptcy case may
be dismissed and, if dismissed, I may not receive a discharge of my debts.


       July 3, 2018
Dated: _____________________________

        William Bryggman
Signed: _______________________________________                              Deborah Bryggman
                                                                             ______________________________________________
                    (Applicant)                                                             (Joint Applicant)


PART II - DECLARATION OF ATTORNEY

          I declare under penalty of perjury that the debtor(s) signed the petition, schedules, statements, etc., including the
Statement of Social Security Number(s) (Official Form B21) before I electronically transmitted the petition, schedules, and statements to
the United States Bankruptcy Court, and have followed all other requirements in Administrative Orders and Administrative Procedures,
including submission of the electronic entry of the debtor(s) Social Security number into the Court’s electronic records. If an individual, I
further declare that I have informed the petitioner (if an individual) that [he or she] may qualify to proceed under chapter 7, 11, 12 or 13
of Title 11, United States Code, and have explained the relief available under each chapter. This declaration is based on the information
of which I have knowledge.

       July 3, 2018
Dated: ______________________                                                      Sarah M. Keenan
                                                           Attorney for Debtor(s) _________________________________________
                                                           Address of Attorney     532 Broadhollow Road
                                                                                   _________________________________________
                                                                                   Melville, New York 11747
                                                                                   _________________________________________




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                                 Attachment

Attachment 1
     William C Bryggman and Deborah A Bryggman
